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UNITED STATES I)ISTRIC'I` COURT
FOR THE DISTRICT OF NEW JERSEY

 

Case No.: 2217-CV-001 77-CCC-MF
IQVIA, INC. and IMS SOFTWARE
SERVICES, LTD,

Plaintiffs/ Counterclaim Defendants,
vs. ORDER & OPINION OF THE SPECIAL
' MASTER
VEEVA SYSTEMS, INC.,

Defendant/ Counterclaim Plaintiff.

 

 

This matter comes before the Special Master on Defendant-Counterclairn Plaintiff Veeva
Systems, lnc.’s (“Veeva”) motion to compel Plaintiffs-Counterclaim Defendants IQVIA, Ine.
and IMS Software Services, LTD, (collectively “IQVIA”) to provide good faith, complete
productions of the requested documents in response to Request for Production (“RFP”) Nos.
319-372. Al"ter considering the submissions of the parties, based upon the following, it is the

opinion of the Special Master that Veeva’s motion is DENIED in part and GRANTEI) in part

DISCUSSION

I. Discovery Standard

Pursuant to Rule 26(b)(1) of the Federal Rules of Civil Procedure, parties may obtain
discovery of “any matter, not privileged, Which is relevant to the subject matter involved in the
pending action.” Fed.R.Civ.P. 26(b)(l). Discoverable material is not limited to that which Would
be admissible at trial, but also includes any non-privileged information that “appears reasonably
calculated to lead to the discovery of admissible evidence.” Id. Re]evance has been construed

liberally under Rule 26(b)(l), to “encornpass any matter that bears on, or that reasonably could

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lead to other matter[s] that could bear on, any issue that is or may be in the case.” Oppenheimer
Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). While relevant information need not be
admissible at trial in order to grant disclosure, the burden remains on the party seeking discovery
to “show that the information sought is relevant to the subject matter of the action and may lead
to admissible evidence.” Caver v. Ci`ty of Trenton, 192 F.R.D. 154, 159 (D.N..l. 2000).
“Discovery is not a fishing expedition.” Arena v. RiverSource Lz`fe Ins. Co., No. 2:16-CV-5063-
JLL-SCM, 2017 WL 6513056, at *2 (D.N.J. Dec. 19, 2017). A party seeking to compel
discovery bears the initial “burden of showing that the information sought is relevant to the
subject matter of the action.” Arena v. RiverSource Life Ins. Co., No. 16-5063, 2017 WL
6513056, at *2 (D.N.J. Dec. 19, 2017).

In this Circait, “[i]t is well recognized that the federal rules allow broad and liberal
discovery.” Pacirti v. Macy’s, 193 F.Sd 766, 777~78 (3d Cir.1999) (citation omitted).
Nevertheless, “this right is not unlimited and may be circumscribed.” Bayer AG v. Betachem,
Inc., 173 F.3d 188, 191 (3d Cir. 1 999). Pursuant to Rule 26(b)(2)(C)(3), “the court must limit the
extent of discovery otherwise allowed by these rules if it determines that the burden [ j of
the proposed discovery outweighs its likely benefit.” Fed.R.Civ.P. 26(b)(2)(C)(3). Courts
consider “the importance of the discovery in resolving the issues” at stake in the case in
determining whether the burden of the discovery outweighs its likely benefit. Id. Additionally,
the Federal Rules of Civil Procedure expressly allow the court to use its discretion and deny
discovery requests if the material sought is “unreasonably cumulative.” Fed.R.Civ.P. 26(b)(2).

Rule 34(b) requires the producing party on a request for production of documents to serve
a Written response within 30 days after service of the request or within a longer or shorter period

set by the court or agreed to by the parties. In its response, the producing party must state

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whether it assents or objects to the request and the reasons for any stated objection “The failure
to object to a discovery request in a timely fashion may constitute a waiver of the objection
However, it is within the Court‘s discretion not to compel discovery which is patently improper.”
Boselli v. Se. Pennsylvania Transp. Auth., 108 F.R.D. 723, 726 (E.D. Pa. 1985)(citations
omitted).

II. General Arguments

Veeva argues that its requests are tailored to seek information about antitrust topics
identified during Veeva’s review of nonparty productions Veeva asserts that to date it has only
received 162 documents from IQVIA. Veeva argues that the burden is on lQVIA to show that
Veeva’s requests are unreasonably duplicative and that to meet this standard, lQVIA must
demonstrate that particular requests are duplicative of produced documents or completed
searches. Veeva argues that lQVlA’s proposal to have Veeva withdraw its motion and give
IQVIA more time to respond will lead to unnecessary delay and litigation and is contradictory to
the rules of federal motion practice Veeva further argues that IQVIA waived its duplication
arguments because it did not object to duplicativeness in its initial responses to RFPS 319, 321,
329-332, 342_344, 347-349, 352-353, 355, 361-365, and 368-369 Veeva also argues that lQVlA
relies on the baseless argument that since it has agreed to produce some relevant inforrnation, it
need not produce further relevant material. Veeva believes that no rule prevents it from serving
targeted discovery while also serving more comprehensive requests.

IQVIA argues that Veeva has already received responses to hundreds of requests for
production, which cover a broad range of subjects including virtually all of what Veeva currently
requests in the 53 requests at issue. IQVIA argues that the outer bound of Veeva’s requests

should be targeted requests for documents not previously covered. IQVIA believes the Special

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Master should deny the motion to compel without prejudice to Veeva withdrawing the motion
and re-serving narrow requests focused on non-duplicative requests IQVIA explains that it is not
taking the position that additional discovery is not warranted; rather, lQVlA’s position is that
sufficient discovery has been propounded and defined by negotiation or Court order. lt argues
that Veeva has no basis for assessing whether its prior requests will result in production of
documents sought by the third set of requests

IQVIA further explains that because of the complexity of the formulations of Veeva’s
requests, it is difficult to tell whether the requests are 100% duplicative or just close to it and that
the burden should be on Veeva to demonstrate that the request is not duplicative lQVIA cites
Federal Rule of Civil Procedure 26(b)(2)(C), which provides that the court may limit the extent
of discovery if it determines the discovery is unreasonably cumulative or duplicative IQVIA
believes that Veeva’s additional requests are not proportional to the needs of the case,
particularly before Veeva has the chance to assess what lQVlA has already agreed to produce.
IQVIA further explains that the artificial intelligence being employed for its document
production make nuance of the type that Veeva would focus on impossible; thus the documents
Veeva is now requesting are likely already going to be produced

At the outset, the Special Master notes that this litigation involves highly complex claims
and concerns the production of millions of documents The parties Were to provide documents in
response to prior Requests for Production by October 1, 2018. Accordingly, document
production is well underway and the parties should have each received documents in response to

their prior requests

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III. Request for Production Nos. 329»-351

Veeva alleges that IQVIA violated Section l of the Shennan Act by illegally colluding
with Reltio as part of a scheme to block Veeva from the MDM software market. To prove this,
Veeva argues that it must show a concerted action by IQVIA and Reltio that unreasonably
restrains trade Veeva explains that RFPs 329-351 stem directly from its review of documents
produced by Reltio in response to a subpoena

RFP 329

Documents and communications from 2014 to the present relating to any IQVIA program
or project involving work with Reltio on the design, maintenance or development of
MDl\/l software

IQVIA objected to this request as overbroad and unduly burdensome lt further objected
to the request to the extent that it seeks documents about geographic markets that do not
impact U.S. commerce

RFP 330

Documents and communications from 2014 to the present relating to any IQVIA program
or project involving developing or improving the functionality of any IQVIA life sciences
IT product or product suite in or with any Reltio software product.

IQVIA objected to this request as overbroad and unduly burdensome lt further objected

to the request to the extent that it seeks documents about geographic markets that do not

impact U.S. commerce

RFP 331

All documents and communications relating to any design or product team or project(s)

led by Mike DiEmma and Working with Reltio or Reltio’s MDM product.

IQVIA objected to this request as overbroad and unduly burdensome lt also objected

based on relevancy lt further objected to the request to the extent that it seeks documents

about geographic markets that do not impact U.S. commerce

Veeva argues that RFPs 329-331 seek information about lQVIA-Reltio agreements
relating to a joint product design. Veeva argues that efforts regarding IQVIA’s control over

Reltio’s MDM product and corresponding interest in excluding Veeva from the MDM market is

relevant Veeva further argues that these requests are not duplicative because IQVIA has only

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agreed to produce similar types of documents l\/loreover it asserts that the RFPs cited by IQVIA
(94, 96, 101, 103, and 98) related to (1) agreements or meetings and (2) communications as to
Veeva, anti-trust law or customers Veeva argues that its current requests encompass IQVIA
materials relating to internal discussion of efforts to design its products to be more compatible
with Reltio’s products

In response to these requests IQVlA argues that it has already agreed to produce
information about the IQVlA-Reltio agreements relating to joint product design, documents and
communications relating to the lQVlA-Reltio Collaboration Agreement, and communications
between IQVIA and Reltio concerning their collusion in the l\/IDl\/l market both before and after
the companies’ formal Collaboration Agreement in June 2016. It cites RFPs 94, 96, 98, 101, 102,
103, and the Special l\/laster’s Opinion.

Opinion

The Special Master has reviewed Veeva’s prior Requests for Production and has
determined that all information sought in RFPs 329-331 should be produced in response Veeva’s
prior requests including RFP 96 (G) which seeks “[a]ll documents and things relating to IMS’s
partnership or contract with Reltio, including without limitation all documents and things
relating to any.....plans regarding any Reltio or IMS product suite{.] Accordingly, it is the
opinion of the Special l\/laster that it is unreasonably cumulative for IQVIA to produce responses
to RFPS 329»33l. While lQVlA failed to object on the grounds of cumulativeness or
duplication, the Special Master believes good cause exists to excuse lQVlA’s failure to object
and that this best serves the interest of justice by supporting prompt and efficient discovery and
resolution of this matter.

RFP 332
All documents and communications relating to Project Vanguard.

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lQVlA objected to this request as overbroad and unduly burdensome lt further objected
to the request as vague and ambiguous It also objected to the extent that this request
seeks documents about geographic markets that do not impact U.S. commerce

RFP 333
All “project plans” as defined in the June 2016 Collaboration and Services Agreement
between Reltio and lQVIA.

lQVIA objected to this request as cumulative and duplicative lt further objected to the
request as overbroad and unduly burdensome lt also objected to the request to the extent
that it seeks documents about geographic markets that do not impact U.S. commerce

RFP 334
All documents and communications relating to any “project plan” as defined in the lune
2016 Collaboration and Services Agreement between Reltio and IQVIA.

lQVlA objected to this request as cumulative and duplicative lt further objected to the
request as overbroad and unduly burdensome lt also objected to the request to the extent
that it seeks documents about geographic markets that do not impact U.S. commerce

RFP 335

All documents and communications relating to Section 3.3(c) (titled “Competitive
Restrictions”) in the June 2016 Collaboration and Services Agreement between Reltio
and IQVIA, including without limitation documents and communications relating to the
rationale, negotiations interpretation, effect, or enforcement of that provision

lQVIA objected to this request as cumulative and duplicative lt further objected to this
request as overbroad and unduly burdensome lt also objected to the extent that the
request seeks documents about geographic markets that do not impact U.S. commerce

RFP 341
All documents and things relating to any proposed or potential amendment to the terms of
Reltio’s partnership with lQVlA.

lQVlA objected to this request as cumulative and duplicative lt further objected to this
request as overbroad and unduly burdensome lt also objected to this request to the extent

that it seeks documents about geographic markets that do not impact U.S. commerce

Veeva argues that RFPs 332-335 and 34l seek documents and communications relating

to the lQVlA-Reltio Collaboration Agreement. Veeva points out that the Special Master has
already held that IQVIA must produce materials relating to the agreement Veeva argues that

RFP 332 encompasses all lQVlA-Reltio negotiations including those beyond the specific

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agreement types enumerated in the Special Master’s opinion Veeva argues that producing
“additional” documents is not the same as producing ali relevant documents ln RFP 335 Veeva
seeks information about a provision of the lQVlA-Reltio Agreement that prohibits Reltio from
entering certain agreements Witli Veeva. Veeva believes the Special Master has already
determined that this subject is relevant. Veeva further argues that this request seeks materials
about topics beyond the categories of agreements addressed in the Special Master’s opinion RFP
341 seeks information about amendments to the formal lQVlA»Reltio Agreement which Veeva
argues falls into the category of documents relating to “any present or future
relationship/partnership between lQVlA and Reltio related to MDl\/I” that the Special Master has
already ruled is relevant Veeva argues that this request seeks materials about topics beyond the
categories of agreements addressed in the Special Master’s opinion.

With respect to RFP 332, lQVlA argues that Veeva cannot use obvious duplication in
flagrant violation of the rules to argue for lQVlA being put through the burden and expense of
responding to and negotiating requests for production only to eventually confirm that the
requests are actually subsumed by prior requests lQVlA further argues that it has already agreed
to produce information about the lQVlA»Reltio agreements relating to joint product design,
documents and communications relating to the lQVlA~Reltio Collaboration Agreement, and
communications between IQVIA and Reltio concerning their collusion in the MDM market both
before and after the companies’ formal Collaboration Agreement in June 2016. lt cites RFPs 94,
96, 98, 101, 102, 103, and the Special Master’s Opinion.

Opinion

Project Vanguard is the code name for the lQVlA»Reltio Collaboration Agreement. RFP

332 seeks all documents and communications relating to Project Vanguard. As lQVlA is already

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obligated to produce “[a]ll documents and things relating to any potential or actual contract,
agreement, or relationship between Il\/IS and Reltio,” in response to RFP 94, the Special Master
finds RFP 332 unduly cumulative While IQVIA did not object based on duplication or
cumulativeness in its initial response, the Special Master believes there is good cause to excuse
this and deny Veeva’s request to compel a response to RFP 332 request as the request is
cumulative and would place an undue burden on lQVlA.

RFP 333 seeks all “project plans” as defined in the June 2016 Collaboration and Services
Agreement between Reltio and IQVIA. RFP 334 seeks all documents and communications
relating to any “project plan” as defined in the June 2016 Collaboration and Services Agreement
between Reltio and IQVIA. A review of Veeva’S prior requests reveals that lQVlA must already
produce “[a]ll documents and things relating to ll\/lS’s partnership or contract with Reltio,
including without limitation all documents and things relating to any rationale business purpose,
strategies, projections or plans regarding any Reltio or IMS product suite, or any agreement
related to any IMS or Reltio Product Suite” in response to RFP 96(G). The Special Master
further notes that IQVIA is already obligated to produce “[a]ll documents and things relating to
any potential or actual contract, agreement, or relationship between IMS and Reltio,” in response
to RFP 94. Thus the Special Master finds RFPS 333 and 334 unduly cumulative

RFP 335 seeks all documents and communications relating to Section 3.3(c) (titled
“Competitive Restrictions”) in the lune 2016 Collaboration and Services Agreement between
Reltio and lQVlA, including without limitation documents and communications relating to the
rationale, negotiations interpretation effect, or enforcement of that provision 'i`he Special
Master notes that RFP 94 already requires IQVIA to produce “[a]ll documents and things

relating to any potential or actual contract, agreement, or relationship between ll\/IS and Reltio.”

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Thus all documents responsive to RFP 335 should be produced in response to RFP 94.
Moreover, the Special Master notes that RFP 96 already requires IQVIA to produce“[a]ll
documents and things relating to IMS’s partnership or contract with Reltio, including without
limitation all documents and things relating to: (B) Any term of the agreement between Reltio
and IMS.” Accordingly, the Special Master finds RFPS 335 unduly cumulative

RFP 341 seeks all documents and things relating to any proposed or potential amendment
to the terms of Reltio’s partnership with lQVlA. The Special Master again notes that RFP 94
already requires IQVIA to produce “[a]ll documents and things relating to any potential or actual
contract, agreement, or relationship between IMS and Reltio.” 'l`hc Special Master also notes
that RFP 97 sought “[a]ll documents and things relating to iMS or Reltio’s analysis, evaluation,
or consideration ..... of a potential or actual change to any current agreement, understanding, or
relationship between ll\/IS and Reltio[.]” All information sought in RFP 341 should thus be
produced in responses to RFPS 94 and 97. Accordingly, the Special Master finds RFP 341
unduly cumulative

IV. RFPs 336-340

Veeva argues that these requests seek communications between IQVIA and Reltio
concerning their collusion in the MDl\/l market both before and after the companies’ formal
Collaboration Agreement in June 2016. Veeva argues its requests are critical to its antitrust
claims and go straight to its horizontal conspiracy claims.

RFP 336

All communications between IQVIA and Reltio relating to TPAS, Veeva, or Veeva Data,

MDM, or CRM products

IQVIA objected to this request as cumulative and duplicative lt further objected as

overbroad and unduly burdensome lt also objected to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce.

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RFP 337

All communications between IQVIA and Reltio relating to any request for pricing,

request for proposal, request for information, sales opportunity, sales presentation, or

sales strategy before .lune 2016.

lQVlA objected to this request as cumulative and duplicative lt also objected to this

request as overbroad and unduly burdensome lt also objected based on relevancy lt

further objected to the request to the extent that it seeks documents about geographic

markets that do not impact U.S. commerce

RFP 338

All communications between lQVIA and Reltio relating to any request for pricing,

request for proposal, request for information, sales opportunity, sales presentation, or

sales strategy in or after lurie 20l6.

IQVIA objected to this request as cumulative and duplicative lt further objected as

overbroad and unduly burdensome lt also objected to the extent that it seeks documents

about geographic markets that do not impact U.S. commerce

Veeva argues that RFPs 336~338 seek communications relating to TPAs, Veeva and its
products, and sales to pharmaceutical companies Veeva argues that Reltio documents show that
IQVIA and Reltio coordinated their sales efforts to block Veeva long before the official
Agreement and that lQVlA executives detailed lQVlA’S blocking tactics Veeva asserts that its
counterclaims allege that lQVlA’s bad faith negotiation tactics were part of its illegal
exclusionary conduct Veeva argues that further evidence of this conduct is available in lQVlA’s
communications thus lQVlA cannot avoid producing them. Veeva further argues that lQVlA
does not identify any prior RFPS that encompass such documents

Opinion

RFP 336 seeks all communications between lQVlA and Reltio relating to TPAS, Veeva,
or Veeva Data, MDl\/l, or CRM products A review of Veeva’s prior requests reveals that lQVIA

must already produce “[alll documents and things relating to communications between any

person at IMS and any person at Reltio directly or indirectly related to: (A) Veeva or any Veeva

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life sciences IT product,” in response to RFP 98. lt is the opinion of the Special Master that all
communications sought in RFP 336 are encompassed in RFP 98 as thus unduly cumulative

RFP 337 seeks all communications between lQVlA and Reltio relating to any request for
pricingJ request for proposal, request for information, sales opportunity, sales presentation, or
sales strategy before June 2016. The Special Master has reviewed Veeva’s prior Requests for
Production and believes this request does not seek information that has already been requested
The Special Master is persuaded that this information is relevant to Veeva’s antitrust action.
Accordingly, the Special Master will order IQVIA to respond to RFP 337 within thirty days of
the date of this order.

RFP 338 seeks all communications between IQVIA and Reltio relating to any request for
pricing, request for proposal, request for information, sales opportunity, sales presentation, or
sales strategy in or after June 2016. The Special Master has reviewed Veeva’s prior Requests for
Production and believes this request does not seek information that has already been requested
The Special Master is persuaded that this information is relevant to Veeva’s antitrust action.
Accordingly, the Special Master will order IQVIA to respond to RFP 338 within thirty days of
the date of this order.

RFP 339

Records of telephone calls or text messages between Tal Rosenberg and any Reltio
representative between June 1, 2015 and October 1, 2016.

IQVlA objected to this request as cumulative and duplicative lt further objected as
overbroad and unduly burdensome lt also objected to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 340

Records of telephone calls or text messages between Mike Allelunas and any Reltio
representative between June l, 2015 and October 1, 2016.

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IQVIA objected to this request as cumulative and duplicative lt further objected as

overbroad and unduly burdensome lt also objected to the extent that it seeks documents

about geographic markets that do not impact U.S. commerce

Veeva argues that RFPS 339 and 340 seek records of phone calls and text messages
between Reltio and two IQVIA executives_Tal Rosenberg and Michael Allelunas_wlio Veeva
alleges were key figures in the lQVlA~Reltio collusion Mr. Rosenberg was the IQVIA executive
in charge of coordinating sales operations l\/Ir. Allelunas communicated with Reltio concerning
lQVlA’s anticompetitive blocking tactics. Veeva argues that as these two executives have
already been named as custodians, there should be little burden associated with providing the
materials. Veeva further argues that IQVIA does not identify any prior RFPs that encompass
such documents

Oginion

RFP No. 95 seeks “[a]ll documents and things relating to the existence or substance of
any communications...between IMS executives or officers and Reltio’s executives or officers
between May l, 2015 and July 1, 2016, including... phone or text message records of
communications[.]” The Special Master notes that RFP No. 95 seeks records between IQVIA
executives and Veeva executives while RFP Nos. 339 and 340 seek communications between
two specific IQVIA executives and any Reltio representative The Special Master further notes
that Veeva seeks records through October l, 2016 in RFPs 339 and 340. As RFP Nos. 339 and
340 seek targeted information beyond the scope of RFP No. 95, the Special Master will compel
lQVlA to respond to Veeva’s Requests for Production Nos. 339 and 340 within thirty days of the
date of this order. The Special Master is persuaded that the information sought in these requests

is relevant to Veeva’s antitrust action and that the targeted nature of the requests adequately

reduce lQVlA’s burden of production

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RFP 342

All communications between IQVIA and Reltio relating to any sales opportunity relating
to BMS involving MDM or Data products, including without limitation BMS’s 2015-
2016 Customer Master Request for Proposal.

lQVlA objected to this request as overbroad and unduly burdensome lt also objected
based on relevancy. lt further objected to the request to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 343

All documents and things relating to any sales opportunity relating to BMS involving
MDM or data products, including without limitation BMS’s 2015-2016 Customer Master
Request for Proposal.

IQVIA objected to this request as overbroad and unduly burdensome It also objected
based on relevancy. lt also objected to the request on grounds that it seeks production of
documents that are subject to confidentiality and or other non-disclosure agreements lt
further objected to the request to the extent that it seeks documents about geographic
markets that do not impact U.S. commerce

RFP 344

Documents sufficient to identify any IQVIA representative involved in the sale of any
life sciences IT products or product suites to BMS between September 1, 2015 and
January 1, 2017, including without limitation any such lQVlA representative whose job
title includes the Word(s) “account” or “sales.”

lQVlA objected to this request as overbroad and unduly burdensome lt further objected
to the request to the extent that it seeks documents about geographic markets that do not
impact U.S. commerce

RFP 345
All communications between any lQVlA representative responsive to Request No. 344
and Reltio concerning BMS, Veeva, Veeva products, or TPAs.

IQVIA objected to this request as cumulative and duplicative lt further objected as
overbroad and unduly burdensome lt also objected to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 346

All documents and communications relating to potential or actual cooperation or
coordination between Reltio and IQVIA in the sale of life sciences lT products to BMS,
including without limitation any such cooperation or coordination relating to TPAs,
Veeva, or Veeva products

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IQVIA objected to this request as cumulative and duplicative lt further objected as
overbroad and unduly burdensome lt also objected to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 347
All communications between IQVIA and Reltio from January l, 2015 to the present
relating to any sales opportunity concerning Novartis and involving MDM or data
products

lQVlA objected to undue burden and the extent the request seeks documents about the
relationship between lQVIA and Reltio that are irrelevant and beyond the permissible
scope of discovery. lt also objected to the request on grounds that it seeks production of
documents that are subject to confidentiality and or other non-disclosure agreements

RFP 348
All documents and things from January 1, 2015 to the present relating to any sales
opportunity concerning Novartis involving MDM or data products

lQVlA objected to this request as overly broad and creating an undue burden. lt also
objected to the request on grounds that it seeks production of documents that are subject
to confidentiality and or other non~disclosure agreements

RFP 349

Documents sufficient to identify any IQVIA representative involved in the sale of any
life sciences l'l` products or product suites to Novartis between January 1, 2015 and
January 1, 2017, including without limitation any such lQVlA representative Whose job
title includes the word(s) “account” or “sales”.

IQVIA objected to this request as overbroad and unduly burdensome lt also objected to
the extent that it seeks documents about geographic markets that do not impact U.S.
commerce

RFP 350
Any communications between any lQVlA representative responsive to Request No. 349
and Reltio concerning Novartis, Veeva, Veeva Products, or TPAs.

lQVlA objected to this request as cumulative and duplicative lt further objected as
overbroad and unduly burdensome lt also objected to the extent that it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 351

All documents and communications relating to potential or actual cooperation or
coordination between Reltio and lQVIA in the sale of life sciences lT products to
Novartis, including without limitation any such cooperation or coordination relating to
TPAs, Veeva, or Veeva products

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IQVIA objected to this request as cumulative and duplicative lt further objected as

overbroad and unduly burdensome lt also objected to the extent that it seeks documents

about geographic markets that do not impact U.S. commerce

Veeva argues that RFPS 342-351 seek lQVlA’s materials concerning lQVlA-Reltio
coordination to block Bristol-Myers Squibb and Novartis from using Veeva products Veeva
argues that this collusion occurred before the formal lQVlA-Reltio Collaboration Agreement.
With respect to RFPs 342-351, IQVIA argues that it has already agreed to produce this
information lt points to RFPS 96, 98, 101, and the Opinion of the Special Master. Veeva retorts
that it seeks communications about similar topics in other RFPs but here it seeks
communications about those topics from the specific employees that must be identified in RFPs
344 and 349.

Opinion

RFl-" 342 seeks all communications between lQVlA and Reltio relating to any sales
opportunity relating to BMS involving MDM or Data products including without limitation
BMS’s 2015-2016 Customer Master Request for Proposal. The Special Master notes that RFP
No. 98 seeks “[a]ll documents and things relating to communications between any person at li\/IS
and any person at Reltio directly or indirectly relating to: (C) Any actual or potential life sciences
lT product customer of either ll\/IS or Reltio.” The Special Master believes that any documents
responsive to RFP 342 will be produced in response to RFP 98. Accordingly, the Special Master
finds RFP 342 unduly cumulative While lQVlA failed to object on the grounds of
cumulativeness or duplication, the Special Master believes good cause exists to excuse lQVlA’s

failure to object and that this best serves the interest of justice by supporting prompt and efficient

discovery and resolution of this matter.

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RFP 343 seeks all documents and things relating to any sales opportunity relating to BMS
involving MDM or data products, including without limitation BMS’s 2015*20l6 Customer
Master Request for Proposal. A review of Veeva’s prior requests reveals that RFP 58 requested
“for the relevant time period, all documents and things relating to offers, proposals, negotiations,
or contracts between IMS, Cegedirn, or Reltio and any potential or actual purchaser of any life
sciences lT products, or any IMS or Reltio product suite, including “(C) all documents and
things relating to any contract term, strategy, tactic, plan, procedure, practice, action, or non-
action considered, taken, or adopted because of a customer’s possible or actual use of any life
sciences IT products of any person, including without limitation any Veeva product.” The
Special Master believes that any documents responsive to RFP 343 will be produced in response
to RFP 58. Accordingly, the Special Master believes RFP 343 is unduly cumulative While
IQVIA did not object based on duplication or cumulativeness in its initial response, the Speciai
Master believes there is good cause to excuse this and deny Veeva’s request to compel a
response to RFP 343 as the request is cumulative and would place an undue burden on IQVIA.

RFP 344 seeks documents sufficient to identify any IQVIA representative involved in the
sale of any life sciences IT products or product suites to BMS between Septernber l, 2015 and
January l, 2017, including without limitation any such IQVIA representative whose job title
includes the word(s) “account” or “sales.” A review of Veeva’s prior requests reveals that this
information has not previously been requested The Special Master is persuaded that the
information sought in this request is relevant to Veeva’s antitrust action and that the targeted
nature of the request reduces IQVIA’S burden of production Accordingly, the Special Master
will compel lQVIA to respond to Veeva’s Requests for Production No. 344 within thirty days of

the date of this order.

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RFP 345 seeks all communications between any IQVIA representative responsive to
Request No. 344 and Reltio concerning BMS, Veeva, Veeva products, or TPAS. The Special
Master notes that RFP No. 98 seeks “[a]ll documents and things relating to communications
between any person at IMS and any person at Reltio directly or indirectly relating to: (A) Veeva
or any Veeva life sciences IT product', . . . and (C) Any actual or potential life sciences IT
product customer of either IMS or Reltio.” The Special Master believes that any documents
responsive to RFP 345 will be produced in response to RFP 98. Accordingly, the Special Master
believes RFP 345 is unduly cumulative

RFP 346 seeks all documents and communications relating to potential or actual
cooperation or coordination between Reltio and IQVIA in the sale of life sciences IT products to
Bl\/IS, including without limitation any such cooperation or coordination relating to TPAs,
Veeva, or Veeva productsl A review of Veeva’s prior requests for production reveals that IQVIA
is producing documents in response to RFP 102, which requested “[a]ll documents and things
relating to any joint, shared, coordinated, or formally or informally agreed upon IMS and Reltio
strategy, tactic, plan, procedure, policy, practice, action, or non-action to benefit either or both
companies, pursuant to any contract or otherwise.” The Special Master believes that any
documents responsive to RFP 346 Will be produced in response to RFP 102. Accordingly, RFP
346 is unduly cumulative

RFP 347 seeks all communications between IQVlA and Reltio from January l, 2015 to
the present relating to any sales opportunity concerning Novartis and involving MDM or data
products The Special Master notes that RFP No. 98 seeks “[a]ll documents and things relating to
communications between any person at IMS and any person at Reltio directly or indirectly

relating to: (A) Veeva or any Veeva life sciences IT product; . . . and (C) any actual or potential

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life sciences IT product customer of either IMS or Reltio.” The Special Master believes that any
documents responsive to RFP 347 will be produced in response to RFP 98. Accordingly, the
Special Master believes RFP 347 is unduly cumulative While IQVIA failed to object on the
grounds of cumulativeness or duplication, the Speciai Master believes good cause exists to
excuse IQVIA’s failure to object and that this best serves the interest of justice by supporting
prompt and efficient discovery and resolution of this matter.

RFP 348 seeks all documents and things from January 1, 2015 to the present relating to
any sales opportunity concerning Novartis involving MDM or data products A review of
Veeva’s prior requests reveals that RFP 58 requested “all documents and things relating to
offers, proposals, negotiations, or contracts between IMS, Cegedim, or Reltio and any potential
or actual purchaser of any life sciences IT products, or any IMS or Reltio product suite, including
“(C) all documents and things relating to any contract term, strategy, tactic, plan, procedure,
practice, action, or non-action considered, taken, or adopted because of a customer’s possible or
actual use of any life sciences IT products of any person, including without limitation any Veeva
product.” The Special Master believes that any documents responsive to RFP 348 will be
produced in response to RFP 58. Accordingly, the Special Master believes RFP 348 is unduly
cumulative While IQVIA did not object based on duplication or cumulativeness in its initial
response the Special Master believes there is good cause to excuse this and deny Veeva’s
request to compel a response to RFP 348 as the request is cumulative and would place an undue
burden on IQVIA.

RFP 349 seeks documents sufficient to identify any IQVIA representative involved in the
sale of any life sciences lT products or product suites to Novartis between January 1, 2015 and

January 1, 2017, including without limitation any such IQVIA representative whose job title

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includes the Word(s) “account” or “sales.” A review of Veeva’s prior requests reveals that this
information has not been previously requested The Special Master is persuaded that the
information sought in this request is relevant to Veeva’s antitrust action and that the targeted
nature of the request reduces IQVIA’s burden of production According]y, the Special Master
will compel IQVIA to respond to Veeva’s Request for Production No. 349 within thirty days of
the date of this order.

RFP 350 seeks any communications between any IQVIA representative responsive to
Request No. 349 and Reltio concerning Novartis, Veeva, Veeva Products, or TPAs. The Special
Master notes that RFP No. 98 seeks “{a]ll documents and things relating to communications
between any person at IMS and any person at Reltio directly or indirectly relating to: (A) Veeva
or any Veeva life sciences IT product; . . . and (C) Any actual or potential life sciences IT
product customer of either IMS or Reltio.” The Special Master believes that any documents
responsive to RFP 350 will be produced in response to RFP 98. Accordingly, the Special Master
believes RFP 350 is unduly cumulative

RFP 351 seeks all documents and communications relating to potential or actual
cooperation or coordination between Reltio and IQVIA in the sale of life sciences IT products to
Novartis, including without limitation any such cooperation or coordination relating to TPAs,
Veeva, or Veeva products As IQVIA is already obligated to produce “[a]ll documents and things
relating to any potential or actual contract, agreement, or relationship between IMS and Reltio,”
in response to RFP 94, the Special Master finds RFP 351 unduly cumuiative

V. RFPS 319-327

RFP 319

All documents and things relating to customization of any MDl\/I product that IQVIA
sells or re-sells. This request includes without limitation documents sufficient to show
manuals, procedures, or processes relating to customization of any MDM product that
IQVIA sells or re-sells.

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lQVlA objected as overbroad and creating an undue burden lt also objected as seeking
information that is irrelevant to any party’s claim or defense and therefore beyond the
scope of permissible discovery. lQVIA further objected to the extent that this request
seeks documents about geographic markets that do not impact U.S. commerce

RFP 320
Documents sufficient to show customization of any l\/lDl\/l product IQVlA sells or re»
sells, due to that product’s use with data products in a particular language

IQVIA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected as beyond the scope of permissible discovery. lt also objected as cumulative and
duplicative of other discovery requests lt also objected to the extent it seeks documents
about geographic markets that do not impact U.S. commerce

RFP 321

All documents and things relating to customization of any lQVlA data product. This
request includes without limitation documents sufficient to show manuals procedures or
processes relating to customization of any lQVlA data product.

IQVIA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected as beyond the scope of permissible discovery lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 322
All documents and things relating to any IQVIA policy, practice, strategy, or sales
techniques of offering volume discounts for lQVIA data products

IQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected as beyond the scope of permissible discovery.

RFP 323
For each year in the relevant time period, documents sufficient to show any person’s exit
from any life sciences lT product market.

lQVlA objected on the grounds that it is vexatious and creates an undue burden lt also
objected as beyond the scope of permissible discovery. lt also objected as cumulative and
duplicative of other discovery requests lt also objected to the extent this request seeks
documents about geographic markets that do not impact U.S. commerce

RFP 324
Documents and things discussing or considering life sciences lT product costs in
conjunction With life sciences l'l` product price changes

lQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected as beyond the scope of permissible discovery lt also objected as cumulative and

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duplicative of other discovery requests lt also objected to the extent the request seeks
documents about geographic markets that do not impact U.S. commerce

RFP 325
Any research, analyses, presentation, summaries or reports of customers switching from
purchasing customer reference data from lQVlA to another data provider, and vice versa.

IQVIA objected on the grounds that it is vexatious and creates an undue burden lt also
objected as cumulative and duplicative of other discovery requests lt also objected to the
extent the request seeks documents about geographic markets that do not impact U.S.
commerce

RFP 326

Any research, analyses presentations summaries or reports of customers switching from

purchasing sales and performance data from IQVIA to another data provider, and vice

versa.

IQVIA objected on the grounds that it is vexatious and creates an undue burden lt also

objected as beyond the scope of permissible discovery. lt also objected as cumulative and

duplicative of other discovery requests lt also objected to the extent the request seeks

documents about geographic markets that do not impact U.S. commerce

RFP 327

Any research, analyses, presentations summaries or reports of customers switching from

purchasing MDM product(s) lQVlA sells or re*sells to another MDM provider, and vice

versa.

lQVlA objected on the grounds that it is cumulative and duplicative of other discovery

requests. lt also objected to the extent the request seeks documents about geographic

markets that do not impact U.S. commerce

Veeva argues that at the heart of its Section 2 claims under the Sherman Act, it alleges
that lQVlA has abused the TPA process to prevent customers from being able to use Veeva
products lt contends that RFPs 319-»327 seek standard information necessary to show the first
element of a claim under Section 2 of the Sherman Act_that lQVlA has market power in the
relevant markets of Reference Data, Sales Data, and MDM.

With respect to RFPS 319»321 Veeva argues that it seeks information about lQVlA’s

customization of the MDM products it sells or re-sells, which Veeva argues is relevant to the

issue of product market definition Veeva argues that courts frequently analyze product

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customization when considering the relevant product market Veeva further argues that
customization is relevant because Veeva alleges that life sciences-specific MDM software is the
relevant product market while lQVlA asserts that it competes against large sellers of
undifferentiated MDM software like lBl\/l. Veeva argues that the degree to which IQVIA
competes in a life sciences-specific MDM market is thus contested and lQVlA’s customization
practices speak to that issue

Veeva argues that RFP 322 seeks information about lQVIA volume discounts which
Veeva argues is relevant to the issue of geographic market definition as Veeva alleges global
markets for software and data while IQVIA asserts country-specific markets Veeva believes that
in antitrust cases, the determination of what constitutes the relevant geographic market is a
question of fact for the fact finder. Veeva thus argues that IQVIA volume discounts across
national markets would reflect a business understanding that these software and data markets are
global and that its customers buy globally. Veeva further argues that RFP 322 requests volume
discount materials because it may show industry recognition of global markets Thus it seeks
materials related to “sales techniques” and would encompass other marketing materials beyond
RFP 54, which focuses on pricing based on product characteristics

Veeva argues that RFPS 323~324 seek evidence of lQVlA’s market power in the
Reference Data, Sales Data, and MDM markets RFP 323 seeks information about lQVIA
competitors who have exited relevant product markets since 2012. Veeva argues that the exit of
competitors from relevant markets is circumstantial evidence of lQVlA’s power to exclude RFP
324 seeks documents in which IQVIA discussed product pricing in conjunction with product
cost. Veeva argues that these materials will illustrate lQVlA’s price~cost margin, a key piece of

direct evidence for monopoly power.

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Veeva argues that RFPs 325-327 seek reports and analysis concerning customers who
have switched from lQVlA’s products to competitors’ products and vice versa. Veeva believes
this information is also relevant to the question of product market definition Veeva argues that
courts typically consider substitute products when defining the scope of the product market Thus
Veeva maintains that lQVlA’s records of the alternate products that its customers choose or
abandoned will help identify products that are actually substitutes for IQVlA products To test
lQVlA’s assertions that its markets are broad, Veeva argues it needs lQVlA records and analysis
of departing customers to determine what companies those customers actually see as substitutes

With respect to RPFs 319-321, IQVIA argues that the cases Veeva cites make clear that
the relevant question is the extent to which other MDM providers can compete with so-called life
sciences-specific MDM providers The question is not the extent to which lQVlA is customizing
its own product. IQVIA argues that in any event, Veeva has already asked for a significant
amount of information about competition for MDM and cites RFPs 19, 42, 46, and 240.

IQVIA argues that Request 322 is duplicative of request 54, which sought information
about pricing or pricing strategy for any IMS, Reltio, or Cegedim life science products or any
IMS or Reltio product suit. IQVIA explains that the geographic limitation of this request was the
subject of motion practice resolved by the Court in its favor. Now, it alleges that Veeva is back
with a request for documents relating to volume discounts for data products which it maintains
are obviously part of pricing or pricing strategy. lQVlA points out that Veeva’s current request is
without geographic limitation lQVlA argues that it is inappropriate for lQVlA to lose a motion
to compel and then serve duplicative requests and bring another motion to compel.

With respect to RFPS 323»324, lQVlA argues that Veeva has already asked for

information about lQVlA’s costs, competitors, and competitive analyses and points to RFPS 18-

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20, 24-26, 30-32, 36~38, 42-46, 234-235, 237-238, and 240-241. With respect to RFPs 325-327,
IQVIA argues that it has already agreed to produce information about competitive opportunities
and points to RFPs 235, 238, and 241

Opinion

RFP 3l9 seeks all documents and things relating to customization of any MDM product
that IQVIA sells or re-sells. RFP 320 seeks documents sufficient to show customization of any
MDM product IQVIA sells or re-sells, due to that product’s use with data products in a particular
language RFP 321 seeks all documents and things relating to customization of any IQVIA data
product. The Special Master agrees that whether Veeva will be able to show antitrust injury will
depend in part on IQVIA’s market power and thus the definition of the relevant market Veeva
has cited to case law that demonstrates that the degree of customization of products may be
relevant to determination of the relevant marketl See Klz`ckads, Inc. v. Real Estate Bd. ofNew
York, Inc., No. 04CIV8042LBS, 2007 WL 2254721, at *8 (S.D.N.Y. Aug. 6, 2007), adhered to
on denial of reconsideration sub nom. Klickads, Inc. v. Real Estate Bd. ofNew York, No. 04 CIV
8042 (LBS), 2007 WL 2981422 (S.D.N.Y. Oct. 9, 2007). The Special Master is persuaded that
the information sought in these requests is relevant to Veeva’s antitrust action. However, the
Special Master also believes these requests must be limited to avoid an undue burden to IQVIA.
Accordingly, the Special Master will compel IQVIA to respond to Veeva’s Requests for
Production Nos. 319-321 but will limit IQVIA’s responses to documents “sufficient to show” the
requested information IQVIA is ordered to provide the aforementioned responses within thirty
days for the date of this order.

RFP 322 seeks all documents and things relating to any IQVIA policy, practice, strategy,

or sales techniques of offering volume discounts for IQVlA data products The Special Master

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notes that RFP No. 54 seeks “[a]ll documents and things relating to lMS’s pricing or pricing
strategy for any IMS, Reltio, or Cegedim life sciences IT products, or any IMS or Reltio product
suite. This includes without limitation documents and things sufiicient to explain the
characteristics of such products or suites that determine prices(s), including without limitation
customer characteristics or number of users of the product or product suite, price per user,
duration of the contract, renewal terms, and Whether the customer buys the product or product
suite on its own or with other products or product suites.” The Special Master believes that any
documents responsive to RFP 322 will be produced in response to RFP 54. Accordingly, the
Special Master believes RFP 322 is unduiy cumulative

RFP 323 seeks for each year in the relevant time period, documents sufficient to show
any person’s exit from any life sciences IT product market A review of prior requests reveal that
IQVIA is already producing documents relating to persons competing against IQVIA in response
to RFPs 19, 20,25, 26, 3l, 32, 37, 38, 42-46, 237-238, and 240-241. The Special Master believes
that any documents responsive to RFP 323 will be produced in response to the aforementioned
RFPs. Accordingly, the Special Master believes RFP 323 is unduly cumulative

RFP 324 seeks documents and things discussing or considering life sciences IT product
costs in conjunction with life sciences IT product price changes. The Special Master is persuaded
that the information sought in this request is relevant and the targeted nature of the request
reduces IQVIA’s burden of production Accordingly, the Special Master will compel IQVIA to
respond to Veeva’s Request for Production No. 324 within thirty days of the date of this order.

RFP 325 seeks any research, analyses, presentation, summaries, or reports of customers
switching from purchasing customer reference data from IQVIA to another data provider, and

vice versa. The Special Master is persuaded that the information sought in this request is relevant

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and that the information has not been sought in prior requests Accordingly, the Special Master
will compel IQVIA to respond to Veeva’s Request for Production No. 325 within thirty days of
the date of this order.

RFP 326 seeks any research, analyses, presentations, summaries or reports of customers
switching from purchasing sales and performance data from lQVIA to another data provider, and
vice versa. The Special Master is persuaded that the information sought in this request is relevant
and that the information has not been sought in prior requests Accordingly, the Special Master
will compel IQVIA to respond to Veeva’s Request for Production No. 326 within thirty days of
the date of this order.

RFP 327 seeks any research, analyses, presentations summaries or reports cf customers
switching from purchasing MDM product(s) IQVIA sells or re-seils to another MDM provider,
and vice versa. The Special Master is persuaded that the information sought in this request is
relevant and that the information has not been sought in prior requests Accordingly, the Special
Master will compel IQVIA to respond to Veeva’s Request for Production No. 327 within thirty
days of the date of this order.

VI. RFPS 328, 354-355, 359, 366-369, 372

RFP 328

All documents and things relating to any lQVIA, Reltio, or Cegedim policy, practice, or
strategy to decrease or limit the compatibility of any life sciences IT products with any
competitor’s life sciences IT products, including Veeva’s life sciences IT products

IQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. lt also objected that
the requests are irrelevant and beyond the scope

RFP 354

Documents sufficient to show any lQVIA policy or practice of allowing or prohibiting
customers cr their agents from matching an IQVIA data product with any competitor’s
data product when a customer switches from an IQVIA data product to a competitor data
product.

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lQVIA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected on the grounds that it seeks the production of documents subject to
confidentiality and or other non~disclosure agreements lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 355

All documents and communications relating to any instance in which IQVlA has allowed
or prohibited a customer or its agents from matching any IQVIA data product with any
competitor’s data product when a customer switches from an IQVIA data product to a
competitor data product.

IQVIA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected on the grounds that the request is vague and ambiguous

RFP 359

Any documents and communications relating to “sensitive” or “elevated” TPA requests,
including without limitation documents and communications relating to elevation of any
TPA requests to Seyed Mortazavi.

lQVlA objected on the grounds that it is vexatious and creates an undue burden lt
objected on the grounds that it is cumulative and duplicative lt also objected to the
request as irrelevant and beyond the scope lt also objected on the grounds that it seeks
the production of documents subject to confidentiality and or other non-disclosure
agreements lt also objected to the extent it seeks documents about geographic markets
that do not impact U.S. commerce

RFP 366
All documents and communications concerning “Global TPA process and analytics
adoption.”

IQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. lt also objected to the
request as irrelevant and beyond the scope It also objected to the extent it seeks
documents about geographic markets that do not impact U.S. commerce

RFP 367

From 2010 to the present, all documents and communications relating to “competitive
sections,” “action plans” or “mandatory executive review for priority competitors”
involving TPAS.

IQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. It also objected to the
request as irrelevant and beyond the scope lt also objected to the extent the request seeks
documents about geographic markets that do not impact U.S. commerce

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RFP 368
Documents sufficient to identify all persons who participated in any “mandatory
executive review for priority competitors.”

IQVIA objected on the grounds that it is vexatious and creates an undue burden lt also
objected to the request as irrelevant and beyond the scope lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 369
Documents sufficient to identify all “priority competitors” (as IQVIA uses the term).

IQVIA objected on the grounds that it is vexatious and creates an undue burden lt also
objected to the request as irrelevant and beyond the scope lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 372

For any portal used by IQVIA to process requests or applications for TPAs, documents
and communications relating to changes to rules, conditions, policies, or coding that
affect(ed) the approval or rejection of life sciences lT product TPAs with (l) Veeva or
any other lQVlA competitor (as lQVlA uses the term), and (2) MDl\/I TPAs, or data
integration TPAS (as IQVIA uses the term). This request includes without limitation (a)
documents and communications relating to such changes relating to any element of
IQVIA data or any person named in a TPA request and (b) any TPA portal change logs

IQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. lt also objected to the
extent it seeks documents about geographic markets that do not impact U.S. commerce

Veeva argues that these RFPS are relevant to lQVIA’s anticompetitive TPA policies and
practices conduct at the heart of its Section 2 claims under the Sherman Act.

RFP 328 seeks information regarding any strategy or practice by IQVIA to limit the
compatibility of its relevant data and software products with any competitor’s complementary
products, including Veeva’s. Veeva argues that any IQVIA strategy to limit compatibility with a
rival’s complementary products could constitute anticompetitive conduct, both by banning
competitors and by banning life sciences company customers who depend on the interoperability
of these data and software products to create lifesaving drugs Veeva argues that none of the

previous RPFs served implicate IQVIA’s attempt to design product incompatibility

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RFPs 354-355 seek information about lQVIA’s policy of blocking Veeva customers from
matching certain elements found in Veeva’s data with certain elements found in IQVlA’s data.
Veeva argues that its counterclaim alleges that such practices are anticompetitive as they raise
customers’ cost of using Veeva data products, thereby working to exclude Veeva from data and
MDM markets Thus Veeva argues that materials related to these practices are relevant Veeva
asserts that lQVlA has agreed to produce only its data match-blocking strategy documents from
designated custodians

RFPs 359 and 366-369 seek materials concerning IQVIA’s practices regarding requests
for TPAs by customers of certain competitors Veeva argues that according to deposition
transcripts obtained from Symphony, IQVIA conducts executive reviews for TPAS involving
strong competitors Veeva seeks documents and communications regarding these review sessions
and the identity of persons participating Veeva believes this will demonstrate that IQVIA targets
Veeva and Veeva’s customers with more burdensome 'l`PA procedures

RFP 372 concerns the technical process IQVIA uses to block customer TPAS. Veeva
explains that when customers want to use lQVIA data with a Veeva product, they must request a
TPA from IQVIA’s TPA Portal. Veeva alleges that over the years customers have reported
increasing restrictions within the portal when they seek TPAs involving Veeva. Veeva requests
logs or records of changes to lQVlA’s TPA portal concerning TPAs requested by Veeva’s
customers which Veeva believes will provide a timeline of lQVIA’s anticompetitive behavior.
Veeva argues that it seeks noncustodial records from lQVlA’s TPA portal_materials separate
from the custodial documents IQVlA agreed to produce in RFPs 70-71.

With respect to RFP 328, IQVIA argues that it has already agreed to produce such

documents to the extent they exist. IQVlA maintains that it has gone even further and agreed to

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produce any relevant information relating to any strategy to affect the sale of any person’s life
sciences products by restricting access to any IMS, Cegedim or Reltio input or product.

With respect to RFPs 354-355, IQVIA argues that it has agreed to produce relevant
documents relating to policies concerning “matching or mapping” any of its products with any
other person’s products lt points to RFP No. 82.

With respect to RPPS 359 and 366-369, IQVIA argues that Veeva has also asked for_
and IQVIA has agreed to produce_documents related to lQVlA’s TPA process for the offerings
relevant to this litigation and points to RFPs 7'0-71.

With respect to RFP 372, IQVIA argues that that Veeva has also asked for_and IQVIA
has agreed to produce-documents related to IQVIA’s TPA process for the offerings relevant to
this litigation and points to RFPS 70-7¥.

Opinion

RFP 328 seeks all documents and things relating to any IQVIA, Reltio, or Cegedim
policy, practice, or strategy to decrease or limit the compatibility of any life sciences IT products
with any competitor’s life sciences IT products, including Veeva’s life sciences IT products
With respect to RFP 328, IQVlA has stated that has agreed to produce documents responsive to
this request to the extent they exist and that it will produce any relevant information relating to
any strategy to affect the sale of any person’s life sciences products by restricting access to any
IMS, Cegedim or Reltio input or product. Consequently, the Special Master does not beiieve it is
necessary to compel IQVIA to respond to RFP 328.

RFP 354 seeks documents sufficient to show any IQVIA policy or practice of allowing or
prohibiting customers or their agents from matching an IQVIA data product with any

competitor’s data product when a customer switches from an IQVIA data product to a competitor

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data product. The Special Master notes that RFP No. 82 sought “{a]ll documents and things
relating to any IMS, Cegedim, or Reltio strategy, tactic, policy, practice, or procedure preventing
any person from matching or mapping any IMS or Cegedim data product with any other person’s
data product in any technological environment or software.” 'l`his RFP Was limited to designated
custodians and Veeva now appears to seek all documents from all sources The Special Master is
persuaded that the information sought in Request 354 is relevant and that the request for
documents “suflicient to show” adequately reduces lQVlA’s burden of production. Accordingly,
the Special Master will compel lQVlA to respond to RFP 354 within thirty days of the date of
this order. lQVIA’s response shall not be limited to custodial documents

RFP 355 seeks all documents and communications relating to any instance in which
IQVIA has allowed or prohibited a customer or its agents from matching any IQVlA data
product with any competitor’s data product when a customer switches from an IQVIA data
product to a competitor data product. The Special Master is persuaded that the information
sought in this request is relevant and that the information has not been sought in prior requests
Accordingly, the Special Master will compel lQVIA to respond to Veeva’s Requests for
Production No. 355 within thirty days of the date of this order.

RFP 359 seeks any documents and communications relating to “sensitive” or “elevated”
TPA requests, including without limitation documents and communications relating to elevation
of any TPA requests to Seyed Mortazavi. The Special Master notes that RFP 7l seeks “[a]ll
documents and things relating to any potential or actual TPA or RSAA between IMS, Reltio, or
Cegedim and any Veeva customer” and that RFP 72 seeks “[a]ll documents and things relating to
any potential or actual TPA or RSAA between IMS, Reltio, Cegedim or Veeva and any other

participant in the life sciences lT product market.” lt is the opinion of the Special Master that

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information responsive to RFP 359 will be produced in response to RFPs 71 and 72.
Accordingly, the Special Master believes RFP 359 is unduly cumulative.

RFP 366 seeks all documents and communications concerning “Global TPA process and
analytics adoption.” The Special Master notes that RFP 70 seeks “[a]ll documents and things
relating to any potential or actual terms or negotiations of, or tactics strategies policies
procedures actions or non-actions relating to any potential or actuai IMS or Cegedim TPA with
any person participating in the market for life sciences lT products This includes without
limitation all documents and things relating to: (A) any rationaie, motivation, or justification for
any TPA policy, from TPA agreements and specific provisions of TPAS; (B) any negotiations
tactics strategies policies practices procedures actions or non-actions concerning a TPA or
provision of a TPA; (C) any research or analysis by any person of the market, financial, or
competitive effects of any potential or actual TPAs specific provisions of those agreements
negotiations tactics strategies policies practices procedures actions or non-actions; and (D)
any document reviewed, created by, or contributed to by any expert or consultant evaluating
TPAs specific provisions of those agreements negotiations tactics strategies policies
practices procedures actions or non-actions.” lt is the opinion of the Special Master that
information responsive to RFP 366 will be produced in response to RFPs 70-72. Accordingly,
the Special Master believes RFP 366 is unduly cumulative

RFP 367 seeks from 2010 to the present, all documents and communications relating to

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“competitive sections action pians” or “mandatory executive review for priority competitors”
involving TPAs. lt is the opinion of the Special Master that information responsive to RFP 367

for the relevant time period, 2012-20]7, will be produced in response to RFPs 72. Veeva has not

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provided an explanation for its need for documents from prior to the relevant time period at issue
in this matter. Accordingly, the Special Master believes RFP 367 is unduly cumulative

RFP 368 seeks documents sufficient to identify all persons who participated in any
“mandatory executive review for priority competitors.” The Special Master is persuaded that the
information sought in this request is relevant and that the information has not been sought in
prior requests Accordingly, the Special Master will compel IQVlA to respond to Veeva’s
Requests for Production No. 368 within thirty days of the date of this order.

RFP 369 seeks documents sufficient to identify all “priority competitors” (as iQVIA uses
the term). The Special Master is persuaded that the information sought in this request is relevant
and that the information has not been sought in prior requests Accordingly, the Special Master
will compel lQVlA to respond to Veeva’s Requests for Production No. 369 within thirty days of
the date of this order.

RFP 372 seeks for any portal used by IQVIA to process requests or applications for
TPAs documents and communications relating to changes to rules conditions policies or
coding that affect(ed) the approval or rejection of life sciences lT product TPAs with (l) Veeva
or any other lQVlA competitor (as lQVIA uses the term), and (2) MDM 'I`PAs, or data
integration TPAS (as IQVIA uses the term). This request includes without limitation (a)
documents and communications relating to such changes relating to any element of lQVIA data
or any person named in a TPA request and (b) any TPA portal change logs The Special Master
is persuaded that the information sought in this request is relevant and that the information has
not been sought in prior requests Accordingly, the Special Master will compel IQVIA to
respond to RFP 372 within thirty days of the date of this order. lQVlA’s response shall not be

limited to custodial documents

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VII. RFPS 352-353, 356-358, 364-365, 370-371

RFP 352
All documents and communications discussing the importance or value of maintaining or
increasing lQVlA’s market share or position in data product markets

lQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected as beyond the scope of permissible discovery. lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 353
All documents and communications discussing the importance or value of maintaining or
increasing lQVlA’s market share or position in the MDM product market.

lQVlA objected on the grounds that it is vexatious and creates an undue burden. It also
objected to the extent it seeks documents about geographic markets that do not impact
U.S. commerce

RFP 356

All documents and communications relating to winning or maintaining “enterprise
customers” (as lQVlA uses the tenn) for any IQVlA life sciences product or product
suite.

IQVIA objected on the grounds that it is vexatious and creates an undue burden lt also
objected as cumulative and dupiicative of other requests lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

RFP 357

From January l, 2012 through Decernber 3l, 2013, all documents and things relating to
any changes to lQVlA TPA policy with respect to lmpactRx lnc. This includes without
limitation documents and communications relating to: (a) Any changes to lQVlA TPA
policy relating to lmpact Rx lnc. in light of Symphony Technology Group’s acquisition
of Source Healthcare Analytics LLC on or about May 2012; (b) Any customer
complaints relating to any changes and {c) any research, reports estimates or analysis
relating to whether and how lQVIA’s TPA policy relating to lmpactRx lnc. affected or
hanned lmpactRx lnc., Symphony Health Solutions Corporations Source Healthcare
Analytics LLC, or any other Symphony Technology Group portfolio company, including
any additional costs lost market share, or lost revenue from or lost sales to customers
including but not limited to Forest, Shire, and UCB.

lQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected on the grounds that it seeks the production of documents subject to
confidentiality and or other non~disclosure agreements lt also objected to the extent it
seeks documents about geographic markets that do not impact U.S. commerce

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RFP 358

From January l, 2013 through December 31, 2013, all documents and things relating to
any changes to lQVlA TPA policy with respect to Evidera lnc. This includes without
limitation documents and communications relating to: (a) any changes to IQVIA TPA
policy relating to Evidera lnc. in light of Symphony Technology Group’s acquisition of
Evidera lnc. or United BioSource Corporation (UBC) on or about luly 2013; (b) any
customer complaints relating to any such changes and (c) any research, reports
estimates or analysis relating to whether and how lQVlA’s TPA policy affected or
banned Evidera lnc., Symphony Health Solutions Corporations Source Healthcare
Analytics LLC, or any other Symphony Technology Group portfolio company, including
any additional costs lost market share, or lost revenue from or lost sales to customers

lQVlA objected on the grounds that it is vexatious and creates an undue burden. lt
objected on the grounds that it is cumulative and duplicative lt also objected on the
grounds that it seeks the production of documents subject to confidentiality and or other
non~disclosure agreements lt also objected to the extent it seeks documents about
geographic markets that do not impact U.S. commerce

RFP 364

All documents including but not limited to slide decks presentations reports analyses
or research, referred to as “monopoly cards” (as lQVlA uses the term), including any
documents referring to lQVlA assets as “monopoly cards.” For purposes of this request,
“assets” includes without limitation information assets including any data with patient ID
or patient identification

lQVIA objected on the grounds that it is vexatious and creates an undue burden. It also
objected to the requests as irrelevant and beyond the scope lt also objected to the extent
it seeks documents about geographic markets that do not impact U.S. commerce

RFP 365
All communications relating to “monopoly cards.”

IQVIA objected on the grounds that it is vexatious and undue burden. lt also objected to
the request as irrelevant and beyond the scope lt also objected to the request as vague lt
also objected to the extent it seeks documents about geographic markets that do not
impact U.S. commerce

RFP 370
All communications concerning any “win-back” or displacement of business from Veeva.

IQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. lt also objected to the
extent the request seeks documents about geographic markets that do not impact U.S.
commerce

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RFP 371

All documents including research, analysis reports presentations pricing or pricing
strategies or marketing or marketing strategies concerning any “win-back” or
displacement of business from Veeva. This request includes without limitation all
presentations to the “leadership steering committee,” or “customer steering review”
relating to competition with or displacement of Veeva.

lQVIA objected on the grounds that it is largely cumulative and duplicative lt also
objected on the ground it is vexatious and creates an undue burden. lt also objected to the
extent it seeks documents about geographic markets that do not impact U.S. commerce

Veeva argues that these requests are relevant to lQVlA’s anticompetitive intent. Veeva
cites case law to support the proposition that intent is relevant to both monopoly maintenance
and attempted monopolization lt also cites law to suggest that prior conduct may shed light upon
the motivation of its refusal to deal in violation of Section 2 of the Sherman Act and that broad
discovery may be needed to uncover evidence of invidious design, pattern or intent.

RFPS 352»353 and 356 seek materials relating to lQVlA’s efforts to maintain market
share, and lQVlA’s views on the importance of maintaining or winning enterprise customers
Veeva argues that discussions of maintaining market share enterprise customers~»~»-especially as it
relates to competitors~is likely to shed light on IQVIA’s motivations for its TPA policies and
other anticompetitive behavior. Veeva further argues that lQVlA has not agreed to produce the
documents sought in these requests in response to RFP 60. lt argues that RFPs 60 and 64 concern
competitive strategies not analysis of acquiring market share or winning enterprise customers

RFPs 370-371 seek materials related to lQVlA’s alleged efforts to win-back customers
who have switched from IQVlA to Veeva. Veeva argues that it alleges that lQVlA has targeted
Veeva for exclusion from life sciences lT product markets and lQVlA’s win»back efforts are
likely to involve the anticompetitive behavior outlined in Veeva’s Section 2 claims Veeva
further argues that while IQVIA has agreed to provide information relating to gaining and

maintaining customers that does not necessarily encompass regaining customers or “win-backs.”

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RFPS 357-358 seek information relating to IQVIA’s anticompetitive behavior towards
Symphony, who Veeva alleges also experienced TPA related anticompetitive conduct Veeva
argues that IQVIA’s previous TPA related anticompetitive conduct is relevant to IQVIA’s
current anticompetitive intent. Veeva argues that these RPFs target two prior instances of
IQVIA’s anticompetitive conduct against a similarly situated competitor, are limited to precise
time periods and seek information about the result of that conduct, including customer
complaints

RFPs 364-365 concern monopoly cards Veeva argues that the Symphony depositions
demonstrate that IQVIA refers to its own data products as monopoly cards Veeva thus seeks
internal communications and documents in which IQVIA refers to its own data products as
monopoly cards Veeva argues that lQVlA’s exclusionary conduct directed at Veeva is directly
relevant to Veeva’s Section 2 claims

With respect to RFPs 352-353 and 356, lQVIA argues it has already agreed to produce
these documents and points to RFPS 60 and 64. With respect to RFPs 370-37l, IQVIA argues
that it has already agreed to produce a Wide range of documents relating to competition with
Veeva including strategies tactics practices and actions to gain customers or sales customers
who are or were customers of Veeva. IQVIA has also agreed to produce relevant information
concerning strategies to maintain customers more generally

With respect to RFPS 357-358, IQVIA argues that these requests relate to information
about changes in lQVIA’s TPA policy, which it has already agreed to produce in response to
RFPs 70-71. With respect to RFPS 364-365, IQVIA argues that it is already producing a
substantial amount of information related to market power and points to RFPs 18-20, 24-26, 30-

32, 36-38, 42-46, 234-235, 237-238, and 240»241.

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RFP 352 seeks all documents and communications discussing the importance or value of
maintaining or increasing lQVIA’s market share or position in data product markets A review of
prior discovery requests reveals that Veeva has already requested “{a]ll documents and things
relating to any actual or potential IMS strategy or tactic that IMS has considered or used to enter,
compete in, or gain share in any life science IT product market” and “{a]ll documents and things
relating to Il\/IS, Reltio, or Cegedim’s considered, potential, or actual strategies tactics plans
policies practices procedures actions or non-actions for retaining IMS, Reltio, or Cegedim life
sciences IT product customers or preventing those customers from using any other product, or
responding to those customers’ decision to use any other product.” See RFPS 60 and 64.
However, the Special Master does not believe all information sought in RFP 352 will necessarily
be produced in response to RFPS 60 and 64. Accordingly, the Special Master wilt order IQVIA
to respond to RFP 352 within thirty days of the date of this order.

RFP 353 seeks all documents and communications discussing the importance or value of
maintaining or increasing IQVIA’s market share or position in the MDM product market The
Special Master does not believe all information sought in Veeva’s RFP 353 Will necessarily be
produced in response to RFPs 60 and 64. Accordingly, the Special Master will order IQVIA to
provide a response to RFP 353 within thirty days of the date of this order.

RFP 356 seeks all documents and communications relating to winning or maintaining
“enterprise customers” (as lQVlA uses the term) for any lQVIA life sciences product or product
suite. The Special Master has reviewed Veeva’s prior requests and does not believe the
information sought in RFP 356 has previously been requested. Accordingly, the Special Master

will order IQVIA to respond to RFP 356 within thirty days of the date of this order.

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RFP 357 seeks from January l, 2012 through December 31, 2013, all documents and
things relating to any changes to IQVIA TPA policy with respect to lmpactRx lnc. This includes
without limitation documents and communications relating to: (a) Any changes to IQVLA TPA
policy relating to lmpact Rx lnc. in light of Symphony Technology Group’s acquisition of
Source Healthcare Analytics LLC on or about May 2012; (b) Any customer complaints relating
to any changes and (c) any research, reports estimates or analysis relating to whether and how
lQVlA’s TPA policy relating to lmpactRx lnc. affected or harmed lmpactRx lnc., Symphony
Health Solutions Corporations Source Healthcare Analytics LLC, or any other Symphony
Technology Group portfolio company, including any additional costs lost market share, or lost
revenue from or lost sales to customers including but not limited to Forest, Shire, and UCB. The
Special Master has reviewed Veeva’s prior discovery requests and does not believe the
information sought in RFP 357 has previously been requested Additionally, the information
sought by Veeva in this request is targeted as to time and companies thereby decreasing the
burden to IQVIA. Accordingly, the Special Master will order iQVlA to respond to RFP 357r
within thirty days of the date of this order.

RFP 358 seeks from January l, 2013 through Decernber 31, 2013, all documents and
things relating to any changes to IQVIA TPA policy with respect to Evidera lnc. ”l`his includes
without limitation documents and communications relating to: (a) any changes to IQVIA TPA
policy relating to Evidera lnc. in light of Symphony Technology Group’s acquisition of Evidera
lnc. or United BioSource Corporation (UBC) on or about July 2013; (b) any customer
complaints relating to any such changes and (c) any research, reports estimates or analysis
relating to whether and how IQVIA’s TPA policy affected or harmed Evidera lnc., Symphony

Health Solutions Corporations Source Healthcare Analytics LLC, or any other Symphony

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Technology Group portfolio company, including any additional costs lost market share, or lost
revenue from or lost sales to customers The Special Master has reviewed Veeva’s prior
discovery requests and does not believe the information sought in RFP 358 has previously been
requested Additionally, the information sought by Veeva in this request is targeted as to time
and companies thereby decreasing the burden to IQVIA. Accordingly, the Special Master will
order IQVIA to respond to RFP 358 within thirty days of the date of this order.

RFP 364 seeks all documents including but not limited to slide decks presentations
reports analyses or research, referred to as “monopoly cards” (as IQVIA uses the term),
including any documents referring to IQVIA assets as “monopoly cards.” For purposes of this
request, “assets” includes without limitation information assets including any data with patient
ID or patient identification The Special Master has reviewed Veeva’s prior discovery requests
and does not believe the information sought in RFP 364 has previously been requested
Accordingly, the Special Master will order IQVIA to respond to RFP 364 within thirty days of
the date of this order.

RFP 365 seeks all communications relating to “monopoly cards.” Veeva asserts that
“monopoly cards” are how IQVIA refers to its own data products 'I`he Special Master has
reviewed Veeva’s prior discovery requests and does not believe the information sought in RFP
365 has previously been requested While lQVIA maintains it is producing substantial
information related to market power, this does not foreclose Veeva from requesting additionai
relevant information Accordingly, the Special Master will order IQVIA to provide a response to
RFP 365 within thirty days of the date of this order.

RFP 370 seeks all communications concerning any “win-back” or displacement of

business from Veeva. The Special Master has reviewed Veeva’s prior discovery requests

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including RFPS 42 and 43, which seek documents relating to any market research, market
analysis or competitor research related to MDM and CRM. The Special Master does not believe
that the information sought in RFP 370 will necessarily be produced in response to other
discovery requests Accordingly, the Special Master will order lQVlA to respond to RFP 370
within thirty days of the date of this order.

RFP 371 seeks all documents including research, analysis reports presentations pricing
or pricing strategies or marketing or marketing strategies concerning any “win-back” or
displacement of business from Veeva. lt is the opinion of the Special Master that information
responsive to RFP 371 will be produced in response to RFPs 42, 43, 234, 235, and 240.
Accordingly, the Special Master believes RFP 371 is unduly cumulative

VIII. RFPs 360-363

RFP 360

All documents and communications indicating customer desire for increased competition
in life sciences IT product markets This request includes without limitation any market
research, reports or analysis relating to customer funding or support of competitors to
IQVIA in life sciences IT product markets including but not limited to NDCHealth
Corporation.

lQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also
objected on the grounds that it is cumulative and duplicative lt also objected that the
request is irrelevant and beyond the scope lt also objected on the grounds that it seeks
the production of documents subject to confidentiality and or other non-disclosure
agreements lt also objected to the extent it seeks documents about geographic markets
that do not impact U.S. commerce

RFP 361

All communications from customers in which customers refer to IQVIA as a monopolist;
IQVIA’s holding, acquiring, manipulation, or exploiting monopoly power or assets or
monopolizing any life sciences IT product market

IQVlA objected on the grounds that it is vexatious and creates an undue burden. lt also

objected that the request as irrelevant and beyond the scope It also objected to the extent
it seeks documents about geographic markets that do not impact U.S. commerce

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RFP 362

For each year in the relevant time period, all surveys conducted by or on behalf of lQVlA
of lQVlA customers in the United States including “customer experience surveys”
relating to customer opinion of lQVIA or IQVIA life sciences lT products or product
suites.

IQVIA objected on the grounds that it is vexatious and creates an undue burden It also
objected that the request as irrelevant and beyond the scope

RFP 363

For each year in the relevant time period, all surveys conducted by or on behalf of IQVIA

of IQVIA customers outside the United States including “customer experience surveys,”

relating to customer opinion of IQVIA or IQVIA life sciences IT products or product
suites.

IQVIA objected on the grounds that it is vexatious and creates an undue burden It also

objected to the request as irrelevant and beyond the scope lt also objected to the extent it

seeks documents about geographic markets that do not impact U.S. commerce

Veeva argues that an antitrust plaintiff must show antitrust injury which can be proven by
a showing that the defendant’s conduct harms consumers Veeva alleges that lQVlA’s
anticompetitive conduct harms competition and harmed life science company customers by
raising costs and reducing choice for data products and software application Thus Veeva argues
these requests seek relevant information regarding consumer harm.

RFPs 361»362 concern customer communications regarding market competition and
lQVIA’s market power. Veeva seeks documents and communications in which customers
express desire for increased competition or refer to lQVIA as monopolist Veeva argues that this
will support its claim that lQVlA’s conduct harms competition and harms consumers Veeva
further argues that when analyzing the issue of product market definition and market power,
courts consider customers’ opinions regarding product markets and monopolist’s power.

With respect to RFPS 361-362, IQVIA argues that it has already agreed to produce a

substantial amount of relevant information relating to competition and the retention of its

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customers lt argues that it has also agreed to produce information about customer
communications and points to RFPs 64 and 66.

RFPs 362~363 concern customers’ opinions about their experiences interacting with
lQVlA and using lQVlA’s products Veeva argues that the deposition transcripts obtained from
Symphony indicate that lQVlA conducts customer surveys and that its customers have reported
“feeling trapped.” Veeva argues that these surveys will show customers’ perceptions of
consumer choice, their rationales for using lQVlA’s products and their opinions about lQVlA’s
TPA policies Veeva believes such materials will show the extent to which customers feel forced
to use lQVlA’s products as well as harm to customers from IQVIA TPA policies Veeva further
argues that its requests are not encompassed in RFPs 64 and 66. Moreover, it argues that it is not
enough for lQVlA to produce a large amount of relevant information it must produce the
relevant information requested here

With respect to RFPS 362-363, lQVIA argues that it has already agreed to produce a
substantial amount of relevant information relating to competition and the retention of its
customers lt argues that it has also agreed to produce information about customer
communications and points to RFPS 64 and 66.

Opinion

RFP 360 seeks all documents and communications indicating customer desire for
increased competition in life sciences lT product markets The Special Master has reviewed
Veeva’s prior discovery requests and does not believe the information sought in RFP 360 has
previously been requested The Special Master also believes the information requested is
relevant to Veeva’s antitrust claims Accordingly, the Special Master will order lQVlA to

respond to RFP 360 within thirty days of the date of this order.

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RFP 361 seeks all communications from customers in which customers refer to IQVIA as
a monopolist; lQVIA’s holding, acquiring, manipulation, or exploiting monopoly power or
assets; or monopolizing any life sciences IT product market The Special Master has reviewed
Veeva’s prior discovery requests and does not believe the information sought in RFP 361 has
previously been requested The Special Master also believes the information requested is
relevant to Veeva’s antitrust claims Accordingly, the Special Master will order IQVIA to
respond to RFP 361 within thirty days of the date of this order.

RFP 362 seeks for each year in the relevant time period, all surveys conducted by or on
behalf of IQVIA of IQVIA customers in the United States, including “customer experience
surveys,” relating to customer opinion of lQVlA or IQVIA life sciences IT products or product
suites. The Special Master has reviewed Veeva’s prior discovery requests and does not believe
the information sought in RFP 362 has previously been requested The Special Master aiso
believes the information requested is relevant to Veeva’s antitrust claims Accordingly, the
Special Master will order IQVIA to respond to RFP 362 within thirty days of the date of this
order.

RFP 363 seeks for each year in the relevant time period, all surveys conducted by or on
behalf of IQVIA of IQVIA customers outside the United States, including “customer experience
surveys,” relating to customer opinion of IQVIA or IQVIA life sciences IT products or product
suites. The Special Master has reviewed Veeva’s prior discovery requests and does not believe
the information sought in RFP 363 has previously been requested The Special Master notes that
Veeva is seeking information related to IQVlA customers outside the Unites States lt is well
established that the Sherman Act applies to foreign conduct that was meant to produce and did in

fact produce some substantial effect in the United States. Harrford Fire Ins. Co. v. Cali orm`a,

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509 U.S. 764 (1993). The Special Master believes that the information sought may be relevant to
a determination of whether IQVIA engaged in any foreign conduct that had a substantial effect
on U.S. commerce Accordingly, the Special Master will order IQVIA to respond to RFP 363
within thirty days of the date of this order.

IX. Closing Remarks

The Special Master notes that unless otherwise indicated, his opinion compelling IQVIA
to produce information in response to Veeva’s requests is limited to documents in possession of
the designated custodians The Special Master also notes that the Sherman Act applies to foreign
conduct that was meant to produce and did in fact produce some substantial effect in the United
States In order to focus responses to relevant information and to lessen the burden posed by
Veeva’s discovery requests the Special Master limits his Order compelling production of
relevant documents to those with information that involves or affects U.S. commerce or those
that relate to the United States, geographic areas such as North America that include the United

States, and documents that relate to global markets

   

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Special Master ,

 

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